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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
AMERICAN LECITHIN COMPANY,
LIPOID GmbH, LIPOID LLC, and
PHOSPHOLIPID GmbH,
                                    Plaintiffs,                Case No. 12-cv-00929-VSB-KNF

-against-                                                      THIRD-PARTY DEFENDANT’S
                                                               LOCAL RULE 56.1 STATEMENT IN
                                                               SUPPORT OF MOTION FOR
CARSTEN MATTHIAS REBMANN,                                      PARTIAL SUMMARY JUDGMENT
                    Defendant, Counterclaim
                    and Third-Party
                    Plaintiff,
-against-

HERBERT REBMANN, LIPOID STIFTUNG,
LIPOID BETEILIGUNGS GmbH,
LIPOID VERWALTUNGS AG,
LIPOID GRUNDSTUECKS GMBH, and
PHOSPHOLIPID FORSCHUNGSZENTRUM e.V.,

                                    Third-Party Defendants.
------------------------------------------------------x


        Third-Party Defendant Herbert Rebmann contends that the following are the material

facts in this action as to which there is no genuine issue to be tried, as established by the

pleadings, the discovery record in this action, and the accompanying affidavits and declarations

and exhibits thereto.

        1. Defendant Carsten Matthias Rebmann resides in the City and State of New York.

             (Second Amended Answer, Counterclaims and Third-Party Claims/Dkt. 187,

             hereinafter “2d Am. Ans.”, ¶ 7; Answer to First Counterclaim and Ninth and Eleventh

             Third-Party Claims/Dkt. 261, hereinafter “Reply”, ¶ 71.)




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 2. Third-Party Defendant Herbert Rebmann (hereinafter “Dr. Rebmann”) resides in

    Germany. (2d Am. Ans. ¶ 76; Reply ¶ 76.)

 3. Defendant has asserted his Ninth Third-Party Claim against Dr. Rebmann for

    conversion of Defendant’s ownership shares of former Third-Party Defendant Lipoid

    Grundstücks GmbH (hereinafter “Lipoid G”). (2d Am. Ans. ¶¶ 257-63.)

 4. Defendant is a former owner of ten percent of Lipoid G. (2d Am. Ans. ¶¶ 82-88;

    Reply ¶¶ 82-88 & 258-63.)

 5. Defendant has alleged in his Ninth Third-Party Claim that Dr. Rebmann took

    Defendant’s shares in Lipoid G, which Dr. Rebmann has denied. (2d Am. Ans. ¶¶

    257-63; Reply ¶¶ 257-63.)

 6. In fact, Defendant has (a) admitted in his pleading that the taking of his shares

    happened by shareholder meeting resolutions, (b) admitted in affidavits filed in this

    action that it was the company Lipoid G that took his shares by action of the

    shareholders at a shareholders’ meeting on January 9, 2103, and (c) provided a

    translated copy of the minutes of that meeting showing that the company mandated he

    forfeit his shares and itself took possession of the shares; in addition, the Defendant

    has stated by affidavit that it is Lipoid G that owes him compensation for the shares,

    not Dr. Rebmann. (2d Am. Ans. ¶¶ 149-50; Defendant’s Affidavit Oct. 18, 2013, ¶

    15 & Ex. D/Dkt. 74 & 78; Defendant’s Affidavit October 9, 2015 ¶ 48/Dkt. 206.)

 7. Third-Party Defendant Herbert Rebmann confirms that it was Lipoid G, not he, that

    took Defendant’s ownership interest by vote of its shareholders, that Defendant’s

    shares were not transferred to him, and that he never received any interest in,

    possession of, or custody or control of those shares. (Rebmann Decl. ¶¶ 5-8.)

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Dated: March 1, 2019
                                                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

               I am an attorney at Wuersch & Gering LLP, counsel for the Third-Party

Defendants, in the above-captioned proceeding. I hereby certify that on March 1, 2019, I caused

the foregoing Local Rule 56.1 Statement in Support of Partial Summary Judgment to be

served electronically via the United States District Court, Southern District of New York Court’s

ECF system upon those parties entitled to receive electronic notice.



                                     _________________________
                                          Gregory F. Hauser




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